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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

ROBERT F. KENNEDY
HUMAN RIGHTS,
1300 19th Street NW, Suite 750
Washington, DC 20036,

NATIONAL ASSOCIATION OF
CRIMINAL DEFENSE LAWYERS,
1660 L Street NW
Washington DC 20036,

IMMIGRANT DEFENDERS
LAW CENTER,
634 S. Spring Street
Los Angeles, CA 90014,

IMMIGRATION EQUALITY,
594 Dean Street
Brooklyn, NY 11238,

CALIFORNIA COLLABORATIVE
FOR IMMIGRANT JUSTICE,
1999 Harrison Street, Suite 1800
Oakland, CA 94612,

Plaintiffs,

v.                                       Case No.

DEPARTMENT OF STATE,
2201 C Street NW
Washington, DC 20520, and

MARCO RUBIO, in his official
capacity as Secretary of State,
2201 C Street NW
Washington, DC 20520,

Defendants.

                                  COMPLAINT



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       1.    Earlier this year, the U.S. Department of State took unprecedented

action to facilitate the extrajudicial disappearance of people residing in the United

States, in an effort to place them beyond the reach of U.S. law, without due process

and without recourse. That action shocks the conscience. It also violates the law.

       2.    In February 2025, the State Department entered into an agreement or

series of agreements with El Salvador pursuant to which the United States

government has disappeared individuals living in the United States into confinement

in El Salvador (“the Agreement”).

       3.    Under the Agreement, El Salvador has committed to accept individuals

rendered from the United States and to hold them, incommunicado and potentially

indefinitely, in facilities that are internationally infamous for human rights abuses.

In exchange, the United States has agreed to pay fees to El Salvador.

       4.    Pursuant to the Agreement, the United States has already rendered

hundreds of people to facilities in El Salvador. The United States has taken the

position that once it has done so, it no longer exercises any control over the treatment

of the rendered individuals or when they are ultimately released—if indeed they ever

are.

       5.    Executive branch leaders have stated that the government plans to

continue availing itself of the Agreement, sending more people, including potentially

U.S. citizens, to indefinite detention in what is an effective black site.

       6.     The Administrative Procedure Act requires agency actions—like the

Agreement entered into by the State Department—to be both reasonable and




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reasonably explained. The Agreement is neither. It is arbitrary. It is capricious.

It is contrary to law. And it was entered into without any legal basis.

      7.     This case presents an extraordinary set of facts, but an ordinary

application of blackletter APA law.     Because the Agreement fails to meet even

minimum standards for agency action, it must be set aside as unlawful.

                                     PARTIES

      8.     Plaintiff Robert F. Kennedy Human Rights (RFK Human Rights)

is a nonprofit organization created in 1968 to carry on Senator Robert F. Kennedy’s

unfinished work in pursuit of a more just and peaceful world. RFK Human Rights

advocates for human rights, engages in public education, and pursues strategic

litigation to hold governments accountable at home and around the world, including

by pursuing immigrants’ rights and anti-detention advocacy and litigation.

      9.     Plaintiff National Association of Criminal Defense Lawyers

(NACDL) is a nonprofit voluntary professional bar association that works on behalf

of criminal defense attorneys to ensure justice and due process for those accused of

crime or misconduct. It has a nationwide membership of many thousands of direct

members, and up to 40,000 with affiliates. NACDL is committed to enhancing the

capacity of the criminal defense bar to safeguard fundamental constitutional rights.

      10.    Plaintiff Immigrant Defenders Law Center (ImmDef) is a nonprofit

organization based in California. ImmDef’s mission and vision is that no immigrant

should have to face deportation proceedings alone and that every person facing

removal deserves to have zealous, competent counsel at their side. ImmDef provides




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deportation defense, legal representation, legal education, and social services to

detained and non-detained children and adults, including unaccompanied children.

      11.    Plaintiff Immigration Equality is a national nonprofit organization

whose mission is to promote equality and justice for LGBTQ and HIV-positive

immigrants and families through direct legal services, policy advocacy, and impact

litigation. In order to effectuate its mission, Immigration Equality runs a pro bono

asylum program, provides technical assistance to attorneys, maintains an

informational website as well as a phone hotline for those in detention, and fields

questions from LGBTQ and HIV-positive individuals across the country and beyond.

      12.    Plaintiff California Collaborative for Immigrant Justice (CCIJ)

is a California-based nonprofit organization that utilizes coordination, advocacy, and

legal services to fight for immigrants in carceral settings. CCIJ seeks to empower

immigrants in and at risk of detention through technical assistance, education, and

participatory defense strategies, while also advancing advocacy, policy and litigation

initiatives consistent with the goals of freedom for immigrants in detention.

      13.    Defendant Department of State is a federal agency headquartered

in Washington, D.C.

      14.    Defendant Marco Rubio is Secretary of State. He is sued in his official

capacity.




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                           JURISDICTION AND VENUE

      15.      This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331, because this action arises under federal law, principally the

Administrative Procedure Act, 5 U.S.C. § 551, et seq.

      16.      Venue is proper in this District under 28 U.S.C. § 1391(e) because at

least one of the Defendants is headquartered in Washington, D.C., and a substantial

part of the events giving rise to Plaintiffs’ claims occurred here.

                             FACTUAL BACKGROUND

      Prison Conditions in El Salvador

      17.      Salvadoran prisons are notorious for inhumane conditions that severely

threaten the health, safety, and even lives of those held there.

      18.      As Defendant the Department of State itself has documented,

El Salvador suffers from “[s]ignificant human rights issues,” including “torture or

cruel, inhuman, or degrading treatment or punishment by security forces; harsh and

life-threatening prison conditions; arbitrary arrest or detention; serious problems

with the independence of the judiciary;” and “trafficking in persons, including forced

labor.”     Bureau of Democracy, Human Rights, and Labor, U.S. Dep’t of State,

El Salvador 2023 Human Rights Report 1, https://perma.cc/MG4W-P4EE.

      19.      The “arbitrary or unlawful killings[] largely stem[] from deaths of

detainees while in prison, either from medical neglect or physical abuse.” Id. at 2.

The State Department has acknowledged that there are “credible reports” of torture

and other cruel, inhumane, or degrading treatment or punishment. Id. at 4. These




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include examples of “systemic abuse in the prison system, including beatings by

guards and the use of electric shocks,” such as “activat[ing] electric stun guns against

the prison’s wet floors to deliver electric shocks to all the prisoners in a cell.” Id. at

5.

       20.    By the State Department’s own account, prison conditions are “harsh

and life threatening due to gross overcrowding; inadequate sanitary conditions;

insufficient food and water shortages; a lack of medical services in prison facilities;

and physical attacks”—problems that have all been “exacerbated” in recent years. Id.

at 7. There have been reports of “a lack of food and potable water and being limited

to two tortillas, one spoonful of beans, and one glass of water per day,” as well as

“limited water for sanitation,” “severe heat and lack of ventilation in the cells,” and

“prolonged confinement, without the opportunity for movement or the use of sanitary

facilities.” Id. at 7–8.

       21.    Reports cited by the State Department also decry the “lack of access to

medical care or medicine in prison.” Id. at 8. For example, one incarcerated person,

who was diabetic, received insulin only two or three times while incarcerated—and

died. Id. Reports have also found that “communicable diseases such as tuberculosis

and scabies were widespread in the prisons.” Id.

       22.    The State Department has noted “regular reports that security and law

enforcement officials arrested persons and did not inform their families of their

whereabouts.” Id. at 3. One organization has reported over one thousand cases in

which detained people’s families “did not receive confirmation that their relatives




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were in the prison system, information regarding their whereabouts, or confirmation

that they were alive.” Id.

      23.    Federal courts in the United States have noted “extensive evidence

about the [Salvadoran] government’s willingness to use torture on suspected gang

members” and others, including via extrajudicial killings. See Rodriguez-Arias v.

Whitaker, 915 F.3d 968, 974–75 (4th Cir. 2019); see also Rogel Lopez v. Garland, 861

F. App’x 130, 134 (9th Cir. 2021) (remanding for Board of Immigration Appeals to

grant relief under the Convention Against Torture where petitioner had previously

been “kidnapped and tortured by two [Salvadoran] police officers who drove a patrol

car and wore police badges”); Ramos v. Lynch, 636 F. App’x 710, 711 (9th Cir. 2016)

(remanding for BIA to consider claim for relief under Convention Against Torture

where petitioner had been “attacked by [Salvadoran] police”).

      24.    That evidence has included documentation of severe abuses in

Salvadoran prisons, such as one petitioner’s prison file showing “that prison guards

severely injured his jaw, probably breaking it, and then left him without treatment

for some period of time, such that his jaw did not heal and he lost a ‘major’ amount of

weight due to not being able to eat.” Najarro-Portal v. Lynch, 630 F. App’x 719, 722–

23 (9th Cir. 2015) (remanding for BIA to grant relief under the Convention Against

Torture). Uncontradicted testimony in that case also showed that prisoners who

complain about prison conditions “are mistreated, forcefully transferred to different

prisons, put in solitary confinement, and accused of being gang leaders to justify their

treatment.” Id. at 722.




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      25.   Human rights organizations have made similar observations of

El Salvador’s prison system. They have documented, for example:

            ●       A practice of police beating people newly arrived in the prisons

                    with batons for an hour;

            ●       A prisoner being sent to a “dark basement cell with 320 detainees,

                    where prison guards and other detainees beat him every day”;

            ●       Cells so overcrowded that people held in them “had to sleep on the

                    floor or standing, a description often repeated by people who have

                    been imprisoned in El Salvador”;

            ●       Guards forcing people held in the prison to kneel on the ground—

                    naked—for hours;

            ●       Guards forcing people held in prisons to sit in ice baths dozens of

                    times in rapid succession, sometimes holding them underwater;

            ●       The use of “punishment cells” that are kept “constantly dark,”

                    without regular access to drinking water, and—again—so

                    overcrowded that “detainees had to sleep standing”; and

            ●       At least one instance of someone who died in custody being buried

                    in a mass grave, without his family’s knowledge.

See Human Rights Watch, Human Rights Watch Declaration on Prison Conditions in

El Salvador for the J.G.G. v. Trump Case (Mar. 20, 2025), https://perma.cc/VEC8-

R4VF (Dkt. 44-3).




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      26.        The Inter-American Commission on Human Rights has likewise

reported overcrowding in prisons reaching as high as 600% of capacity.                 Inter-

American Commission on Human Rights, Report: State of Emergency and Human

Rights      in      El    Salvador    ¶ 237       (2024),   https://www.oas.org/en/iachr/

reports/pdfs/2024/Report_StateEmergencyHumanRights_ElSalvador%20(1).pdf.

The Commission reported dire conditions as a result: for example, one prisoner was

in a cell with 140 people and only 18 cots; another with 210 people and 50 cots (in a

space designed for 150); another in a cell with 130 people and 60 cots. Id. ¶ 252.

Another was in a cell with 200 people, where it was “not possible to walk,” and so

“dead bodies started coming out of the center” of the cell: “[t]hey were drowning

because they were suffocating.” Id.

      27.        As to hygiene, the Commission reported testimony that toilets in

Salvadoran prisons were “overflowing” with waste, and that access to water was

highly variable—sometimes available only from a dirty bucket, sometimes available

only from 4:00 to 5:00 a.m., sometimes not available at all.            Id.   ¶ 255.     The

Commission reported nutrition standards so poor that one of their witnesses weighed

only 90 pounds (down from 170) when he left the prison. Id. ¶ 257.

      28.        Testimony procured by the Commission reflected further brutality: one

witness described being beaten with a stick while handcuffed for hours; another the

use of pepper spray and withholding of food as collective punishment; another

beatings until the victims lost consciousness; another being forced to walk on their




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knees on sun-heated gravel, and being given electric shocks, by laughing guards who

were “happy” when the prisoners fell down. Id. ¶ 300.

      29.    The Commission has also “found that 100% of the population deprived

of liberty [in El Salvador] remained in isolation from the outside world.” Id. ¶ 238.

      30.    Journalists have reported similar conditions, including, for example, a

man who lost thirty pounds in one month while incarcerated in El Salvador; “starving

inmates”; “prisoners suffer[ing] from ‘a kind of diarrhea I didn’t know was possible’”;

going four days or more between meals; being “crammed three to a bunk”; and, on

arrival, prisoners “stripped to their underwear and forced to walk between rows of

guards who hit them with clubs.”       Annie Correal, Lost in the ‘Death Realm’ of

El Salvador’s Prisons, N.Y. Times (May 1, 2025), https://perma.cc/9D3S-K95L

[hereinafter, “Correal, Lost”].

      31.    Within El Salvador’s prison system, the largest facility is located in

Tecoluca: the Centro de Confinamiento del Terrorismo, known as CECOT, which

opened in 2023.

      32.    CECOT was originally said to have the capacity to hold 20,000 people,

although the Salvadoran government now reports its capacity as 40,000. See Human

Rights Watch, supra ¶ 25. But “[c]ells lack enough bunks for everyone.” What to

Know About CECOT, El Salvador’s Mega-prison for Gang Members, Associated Press

(Mar. 17, 2025), https://perma.cc/LDQ3-C3CR.

      33.    It is a place “where visitation, recreation, and education are not

allowed.” Id. The people held there “are never allowed outdoors.” Id.




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      34.    Instead, they spend twenty-three and a half hours each day in

communal cells that hold up to one hundred men each and have no furniture other

than metal bunks, without mattresses, pillows, or sheets. See David Culver et al., In

Notorious Salvadoran Prison, US Deportees Live in Identical Cells to Convicted

Gangsters, CNN (Apr. 8, 2025), https://perma.cc/9L95-3VPM; Annie Correal, Inside

the ‘Tropical Gulag’ in El Salvador Where U.S. Detainees Are Being Held, N.Y. Times

(Apr. 18, 2025), https://perma.cc/W84P-LU4P [hereinafter, “Correal, Inside”].

      35.    Their heads are shaved. Culver, supra ¶ 34. “They are allowed no

personal possessions.” Id. There is no privacy, but only an open toilet. Id. The lights

are always on. Id. They are forbidden even from using utensils to eat their “paltry

meals.” Correal, Inside, supra ¶ 34.

      36.    Civil society organizations in El Salvador have calculated, based on

satellite images of CECOT, that each person held there would have an average of 0.60

meters of space, well below international guidelines of four square meters per person.

Inter-American Commission on Human Rights, supra ¶ 26, at ¶ 250.

      37.    Human rights organizations have observed that CECOT routinely

mistreats the people who are held there: “[t]his includes cases of torture, ill-

treatment, incommunicado detention, severe violations of due process and inhumane

conditions, such as lack of access to adequate healthcare and food.” Human Rights

Watch, supra ¶ 25.

      38.    People in CECOT are held incommunicado: they are not allowed visits

by their attorneys, clergy, or family members. See Ariana Figueroa, Experts: $6




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Million Payment to Salvadoran Prison Likely Violates US Human Rights Law,

Baltimore Sun (Apr. 18, 2025), https://perma.cc/76WJ-ZSMQ; Edgar Beltrán, CECOT

and the Church in El Salvador, The Pillar (Feb. 12, 2025), https://perma.cc/AZH2-

5DHB. They do not have access to books. Correal, Inside, supra ¶ 34. And they are

not allowed to communicate with the outside world. Id.

      39.    According to human rights organizations, since March 2022, “over 350

people have died in El Salvador’s prisons.”      Human Rights Watch, supra ¶ 25.

Although that reflects the number of prison deaths that have been documented,

human rights organizations believe “the true number is likely much higher.” Correal,

Lost, supra ¶ 30.

      40.    On information and belief, no one who has been imprisoned at CECOT

has ever been freed, see Figueroa, supra ¶ 38; Human Rights Watch, supra ¶ 25:

El Salvador officials have reportedly stated that “the only way out is in a coffin,”

Cecilia Vega, U.S. Sent 238 Migrants to Salvadoran Mega-Prison; Documents

Indicate Most Have No Apparent Criminal Records, CBS News (Apr. 6, 2025 7:00

PM), https://perma.cc/48ZE-B663. On information and belief, no one who has been

imprisoned at CECOT has ever even left the facility, other than Kilmar Abrego

Garcia. Mr. Abrego Garcia, whom the U.S. government rendered to El Salvador by

mistake, was permitted a brief meeting with U.S. Senator Chris Van Hollen, and was

transferred to a different Salvadoran facility, after a U.S. District Court ordered the

United States to facilitate his return.    See Tara Lynch, Kilmar Abrego Garcia




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Transferred to El Salvador Facility with Own Bed and Furniture, Update Reveals,

CBS News (Apr. 21, 2025 6:57 AM), https://perma.cc/5XK2-7GD9.

      The State Department’s Agreement with El Salvador

      41.    On February 3, 2025, following discussions with Salvadoran President

Nayib Bukele, Secretary of State Rubio announced that President Bukele “has agreed

to the most unprecedented and extraordinary migratory agreement anywhere in the

world.” Press Release, Marco Rubio, Secretary of State Marco Rubio and Salvadoran

Foreign Minister Alexandra Hill Tinoco at the Signing of a Memorandum of

Understanding Concerning Strategic Civil Nuclear Cooperation, U.S. Dep’t of State

(Feb. 3, 2025), https://perma.cc/EAL4-XLM5; see also Press Release, Tammy Bruce,

Secretary Rubio’s Meeting with Salvadoran President Nayib Bukele, U.S. Dep’t of

State (Feb. 3, 2025), https://perma.cc/GU5N-T8EN (confirming that “[m]ultiple

agreements were struck to fight the waves of illegal mass migration currently

destabilizing the entire region”).

      42.    Defendants, other components of the U.S. government, and the

government of El Salvador have publicly disclosed the existence of and described the

Agreement, including specific details contained therein.

      43.    Despite Secretary Rubio’s description of the Agreement as a “migratory

agreement,” the details that both governments have disclosed reveal that the

Agreement addresses a domestic issue: the treatment and detention of individuals

who are located within the United States and who, absent their lawful removal or

repatriation, would otherwise remain within the United States. See, e.g., Marco




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Rubio, @SecRubio, X (Mar. 16, 2025, 7:59 AM), https://perma.cc/7VNN-W7SJ

(asserting that, by outsourcing detention to El Salvador, the Agreement will “save

our taxpayer dollars”).

      44.     Secretary Rubio explained: President Bukele “has agreed to accept for

deportation any illegal alien in the United States who is a criminal from any

nationality, be they MS-13 or Tren de Aragua, and house them in his jails.” Rubio,

supra ¶ 41.

      45.     The Secretary continued: “And he’s also offered to do the same for

dangerous criminals currently in custody and serving their sentences in the United

States, even if they’re U.S. citizens or legal residents. We are just profoundly

grateful.” Id.

      46.     President Bukele trumpeted the agreement on social media that

evening, explaining that the United States’s end of the bargain would involve paying

a fee that “would be relatively low for the U.S. but significant for us,” allowing the

United States “to outsource part of its prison system”:




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Nayib Bukele (@nayibbukele), X (Feb. 3, 2025 9:44 PM), https://perma.cc/8LJB-

8EJE.

        47.   According to reporting, under the terms of the Agreement, the United

States “will pay El Salvador $6 million to imprison for one year about 300 alleged

members of the Venezuelan Tren de Aragua gang.” Matthew Lee & Regina Garcia

Cano, US Prepares to Deport About 300 Alleged Gang Members to El Salvador,

Associated Press (Mar. 15, 2025), https://perma.cc/9HLB-6WVA. Further reporting

revealed that the United States would pay around $20,000 per person rendered to



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El Salvador as a “one-time maintenance fee.” Jennifer Hansler & Priscilla Alvarez,

Trump Admin Proposed Sending up to 500 Alleged Venezuelan Gang Members During

Negotiations       to   Use   El   Salvador’s    Mega-prison,    CNN    (Apr.   28,     2025),

https://perma.cc/NMJ4-WACD.

        48.       In addition, the United States agreed to return to El Salvador certain

MS-13 leaders who were facing criminal prosecution in the United States. Press

Release, Marco Rubio, On the President’s Action to Protect Americans from Dangerous

Foreign Gang Members, U.S. Dep’t of State (Mar. 16, 2025), https://perma.cc/R8KF-

T5T3; Evan Perez & Priscilla Alvarez, ‘Historical Loss’: Alleged Gang Leader Evades

US      Justice     with   Deportation   to     El   Salvador,   CNN    (Mar.   24,     2025),

https://perma.cc/6RYG-ZH6F. According to an e-mail that was reported, “Upon all

nine [MS-13 leaders] being returned, (El Salvador) will provide (US government) a

50% discount for Year 2, if necessary, of the original TdAs.” Hansler & Alvarez, supra

¶ 47.

        49.       For its part, “El Salvador confirms it will house these individuals [the

alleged members of Tren de Aragua] for one (1) year, pending the United States’

decision on their long term disposition.” Lee & Cano, supra ¶ 47.

        50.       A “State Department document also suggests that it may set aside $15

million to send El Salvador to house additional members of the gang.” Id.

        51.       The administration has publicly announced its interest in rendering

U.S. citizens to El Salvador under the Agreement as well. For example, when asked

about President Bukele’s offer to take U.S. citizens from the federal prison




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population, President Trump responded: “I love that. . . . I’d be honored to give them.

I don’t know what the law says on that, but I can’t imagine the law would say

anything     different.”        @Acyn,     X     (Apr.      6,    2025     7:56      PM),

https://x.com/acyn/status/1909032577291505794.           President   Trump    has    also

suggested sending some sentenced to jail domestically for vandalism to Salvadoran

prisons:




Donald J. Trump (@realDonaldTrump), Truth Social (Mar. 21, 2025 7:43 AM),

https://perma.cc/F4WN-DB4Y.

      52.    On information and belief, U.S. residents who are disappeared into

CECOT experience the same treatment as Salvadoran prisoners there. Culver, supra

¶ 34. According to CECOT’s own prison director, they receive no special privileges.

Id. And according to reporting, when El Salvador asked the State Department what

“requirements” it requested for the people it was rendering, Secretary Rubio’s chief

of staff responded that the “baseline requirements do not differ from El Salvador’s for

the treatment of prisoners.” Hansler & Alvarez, supra ¶ 47.




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       The Federal Government Renders People to El Salvador Under the Agreement

       53.     On March 15, the federal government flew more than 200 people—

including but not limited to Venezuelans purportedly subject to a presidential

proclamation invoking the Alien Enemies Act—to El Salvador to be held in CECOT. 1

See,   e.g.,   Marco   Rubio,    @SecRubio,    X     (Mar.   16,     2025,   7:59    AM),

https://perma.cc/7VNN-W7SJ (revealing that the government had sent 23 alleged

members of MS-13 plus “over 250 alien enemy members of Tren de Aragua which El

Salvador has agreed to hold in their very good jails at a fair price that will also save

our taxpayer dollars”); Marco Rubio (@SecRubio), X (Mar. 16, 2025 8:39 AM),

https://x.com/SecRubio/status/1901252043517432213         (sharing    post   and     video

revealing details of the flights). Prior to their forced rendition, some or all of these

people were either living in immigration detention or at liberty within the United

States. Videos showed that upon their arrival at CECOT, they were shackled and

“forced to lower their heads and bodies” as they were marched through the facility by

masked men, who shaved their heads. See Vega, supra ¶ 40.

       54.     Although the administration has stated that these people were all

terrorists or gang members, it has set forth no credible evidence supporting that

assertion. Many of the people rendered to El Salvador had not been convicted of any

crime, and reporting has demonstrated that many of these designations—based

largely on the asserted meaning of certain common tattoos—are likely flawed.



1
  On information and belief, the Agreement does not specifically require that El
Salvador hold people rendered pursuant to the Agreement in CECOT, as opposed to
other Salvadoran prisons. See Lynch, supra ¶ 40.

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See Julie Turkewitz et al., ‘Alien Enemies’ or Innocent Men? Inside Trump’s Rushed

Effort to Deport 238 Migrants, N.Y. Times (Apr. 16, 2025), https://perma.cc/YCJ7-

ZC9Q; David J. Bier, 50+ Venezuelans Imprisoned in El Salvador Came to US

Legally,    Never   Violated   Immigration     Law,   Cato   Inst.   (May   19,      2025),

https://perma.cc/8RMX-6M4B.

      55.     Nevertheless, Department of Homeland Security Secretary Kristi Noem

has stated that the people the United States has rendered to El Salvador under the

Agreement “should stay there for the rest of their lives.” Brittany Gibson, Migrant

Detainees Should Be in El Salvador Prison “for the Rest of Their Lives,” Noem Says,

Axios (Apr. 9, 2025), https://perma.cc/GZN9-QHUD. Secretary Noem has stated: “We

have no plans to bring them back, this is a long-term solution.” Vera Bergengruen &

Michelle Hackman, El Salvador’s Bukele Plans to Double the Size of Giant Prison

Holding U.S. Deportees, Wall St. J. (Apr. 16, 2025), https://perma.cc/Y44Y-UK3A.

      56.     Despite that position, the government has made—and indeed admitted

to—mistakes in whom it renders under the Agreement, such that people in the United

States well outside the government’s stated targets are at risk. 2 Though implausible,

the administration has taken the position in court that it has no recourse to recall

those people to the United States. See Abrego Garcia v. Noem, No. 25-cv-951, Dkt. 77

¶ 7 (D. Md. Apr. 15, 2025). Even after the administration admitted that it made a



2
 The United States has recently removed U.S. citizens and has recently detained
U.S. citizens based on an incorrect belief that their proof of citizenship was invalid.
See, e.g., José Olivares, US Citizen Detained by Immigration Officials Who Dismissed
His Real ID as Fake, The Guardian (May 24, 2025 12:22 PM), https://perma.cc/8BGE-
3F6J.

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mistake as to Kilmar Abrego Garcia, who was rendered to El Salvador, and after the

Supreme Court unanimously upheld an order requiring the government to facilitate

his return, Noem v. Abrego Garcia, 145 S. Ct. 1017, 1018 (2025), the Attorney General

has stated that it is “up to El Salvador if they want to return [Mr. Abrego Garcia;]

that’s not up to us,” Abrego Garcia v. Noem, No. 25-cv-951, Dkt. 77-1, at 10 (time

stamp 16:45) (D. Md. Apr. 15, 2025).

      57.    President Bukele, for his part, has stated of Mr. Abrego Garcia that he

does not “have the power to return him to the United States.” Seung Min Kim

(@seungminkim), X (Apr. 14, 2025 12:02 PM), https://perma.cc/6NUS-L5GT.

      58.    Senator Chris Van Hollen reported that when he asked the Vice

President of El Salvador why that government continued to hold Mr. Abrego Garcia

even though he has not been charged with any crime, “[h]is answer was that the

Trump administration is paying the government of El Salvador to keep him at

CECOT.” Anna Bower (@annabower.bsky.social), BlueSky (Apr. 16, 2025 2:20 PM),

https://perma.cc/Z5TB-87RK.

      59.    On March 22, the State Department “formal[ly] notice[d]” a $4.76

million grant to El Salvador, stating that its purpose was “to be used by Salvadoran

law enforcement and corrections agencies for its law enforcement needs, which

include costs of detaining the 238 TdA members recently deported to El Salvador.”

Hansler & Alvarez, supra ¶ 47. This amount is consistent with the $20,000 per

person rate under the Agreement, and, on information and belief, constitutes

payment under the terms of the Agreement.




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      60.     The administration shows every sign of continuing to avail itself of the

Agreement. On March 31, Secretary Rubio announced a “military transfer[]” of

seventeen people to El Salvador.        Marco Rubio, More Foreign Gang Terrorists

Deported Out of America, U.S. Dep’t of State (Mar. 31, 2025), https://perma.cc/UD3W-

MT8T. On April 13, Secretary Rubio announced that the United States had rendered

another ten people to El Salvador. Marco Rubio (@SecRubio), X (Apr. 13, 2025 10:45

AM), https://perma.cc/K3KT-XAXV. And on April 18, at least twenty-eight migrants

were loaded onto buses heading to an airport, some told they were being sent to

El Salvador—until emergency legal filings that resulted in a decision from the

Supreme Court induced authorities to turn the buses around. Vaughn Hillyard et

al., As Legal Fight Raged, ICE Buses Filled With Venezuelans Heading Toward

Airport     Turned   Around,    Video    Shows,   NBC     News     (Apr.   20,     2025),

https://perma.cc/YJ8L-AD8X; see also A.A.R.P. v. Trump, 145 S. Ct. 1034 (2025).

      61.     Secretary Noem, as well as several current and former members of the

U.S. House of Representatives, have been allowed to tour CECOT. See, e.g., Dep’t of

Homeland Security (@DHSgov), X (Mar. 28, 2025 11:28 AM), https://perma.cc/4R9Y-

D6BU; Rep. Riley M. Moore (@RepRileyMoore), X (Apr. 15, 2025 7:38 PM),

https://perma.cc/6H2H-MRVC?type=image.

      62.     Secretary Noem noted that President Bukele “has plans to double the

size” of CECOT; President Bukele apparently believes it is “[u]p to the U.S. to send

enough [people] to fill it.” Bergengruen & Hackman, supra ¶ 55. These plans are not




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based on false hopes: President Trump has told President Bukele, “[Y]ou gotta build

about five more places.” Id.

      The Agreement Has Injured Plaintiffs

      63.      Plaintiffs include four nonprofits that represent immigrants in

immigration proceedings and otherwise work to support immigrants, improve

conditions of confinement, and provide additional direct services to immigrant

communities.      As alleged more fully below, the Agreement has injured these

organizations by directly impairing their ability to carry out their core missions—

including by making it more difficult for them to provide legal and other direct

services to people who because of the Agreement may be or in some cases already

have been rendered to El Salvador.

      64.      Plaintiffs also include a nonprofit association of criminal defense

attorneys, many of whom represent immigrants in criminal proceedings. As alleged

more fully below, the Agreement has injured this organization’s members by—among

other things—frustrating and complicating their ability to provide legal counsel and

vigorous representation to clients who may be or have already been rendered to

El Salvador.

      65.      Plaintiffs will be further harmed by additional renditions pursuant to

the Agreement.

               Robert F. Kennedy Human Rights

      66.      Plaintiff RFK Human Rights works to advance human rights within the

United States and abroad.       That work includes visiting immigration detention




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facilities to give presentations that inform detained people about their legal rights

and protections against abusive government treatment; exposing and combatting

human and civil rights abuses that occur in immigration detention, including through

litigation and human rights reporting; and publishing informational materials to

teach attorneys, advocates, and detained people how to effectively vindicate the

human rights of people in detention.

      67.       Carrying out each of these vital parts of its mission requires that RFK

Human Rights be able to communicate with its clients and others held in immigration

detention and assess the conditions of their confinement.          RFK Human Rights

frequently represents people held in detention who are seeking to challenge unjust

and inhumane conditions, including sexual abuse, prolonged solitary confinement,

brutality from guards, and denial of essential medical care. RFK Human Rights

typically communicates with its clients through phone and video calls and in-person

visits and does so on a regular basis, generally weekly by phone and monthly by in-

person visit.

      68.       RFK Human Rights currently has ten clients held in CECOT—all

Venezuelan migrants rendered there by the United States, pursuant to the

Agreement.       But RFK Human Rights attorneys have not been permitted to

communicate directly with those clients—on information and belief, because the

Agreement does not permit (or require El Salvador to facilitate) such communication.

In late April, attorneys from RFK Human Rights traveled to El Salvador to meet with




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these clients in person, but were denied entry to CECOT and denied access to their

clients.

       69.   RFK Human Rights’s work on behalf of its clients in CECOT and their

families has been impeded by its inability to communicate with those held within the

facility.

       70.   The Agreement harms RFK Human Rights’s ability to carry out its core

mission to monitor and combat human rights abuses through education of detained

people, reporting on conditions of confinement, strategic litigation over conditions of

confinement, and otherwise addressing the mistreatment, abuse, and torture of those

held in immigration detention and other facilities. By authorizing the rendition and

disappearance of individuals within the United States, whom RFK Human Rights

otherwise would have had some ability to reach and track through normal channels

(such as phone calls and in-person visits), to a black site in El Salvador where they

are held incommunicado, the Agreement directly impairs RFK Human Rights’s

ability to communicate with and defend those who are disappeared under the

Agreement. It also thwarts its ability to more broadly monitor and call attention to

the conditions in which those individuals are held.

       71.   Staff capacity and organizational financial resources are both strained

by time-consuming and expensive travel to El Salvador from RFK Human Rights’s

offices in New York and Washington, D.C., that would not need to occur but for the

Agreement facilitating the forcible disappearance of RFK Human Rights clients.

These strains mean that RFK Human Rights is unable to devote staff time and




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financial resources to other work it would have completed, including U.S. federal

litigation seeking redress for violations of human rights by police and prison officials

and informational campaigns and advocacy to promote human rights causes related

to suppression of civic space around the world.

      72.    The Agreement further harms RFK Human Rights because the

Agreement’s terms—under which individuals held in immigration detention in the

United States need fear their sudden disappearance to El Salvador—materially

impede RFK Human Rights’s ability to provide current and relevant training

materials to detained people on how to vindicate their human rights while in

detention. For example, if people held at CECOT were instead detained in U.S.

immigration detention centers, RFK Human Rights attorneys could and in many

cases would have visited them in person to provide legal rights presentations

explaining how to file a pro se habeas corpus petition with the federal courts, a

complaint about conditions of confinement with a Department of Homeland Security

oversight body, or a request for release from detention through administrative

advocacy with Immigration and Customs Enforcement or the Executive Office for

Immigration Review.

      73.    The Agreement further harms RFK Human Rights by requiring it to

devote attorney time and organizational resources to representing clients who have

been rendered to (or are at risk of being rendered to) facilities in El Salvador,

diminishing the overall number of clients that RFK Human Rights is able to assist

and projects that RFK Human Rights is able to undertake.




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             National Association of Criminal Defense Lawyers

      74.    Plaintiff NACDL’s mission is to identify and reform flaws and inequities

in the criminal legal system and redress systemic racism, and ensure that its

members and others in the criminal defense bar are fully equipped to serve all

accused persons at the highest level.     The Agreement has directly undermined

NACDL members’ ability to serve their clients to the best of their ability and

consistent with the guarantees of the Fifth and Sixth Amendments.

      75.    NACDL members, who are criminal defense lawyers, frequently

represent in criminal cases people who are simultaneously litigating immigration

proceedings. Sometimes, these clients are detained or removed from the United

States by U.S. immigration services while their criminal cases remain pending, or

are on appeal. Nevertheless, the lawyers representing them in their criminal cases

have an ethical obligation to continue to zealously advocate for their interests.

Accordingly, NACDL members whose clients have been detained or removed must

still communicate regularly with their clients to assist with factual development,

keep the clients informed of case milestones, and permit the clients to make strategic

litigation decisions. The Agreement interferes with this attorney-client relationship,

as it provides for the rendition to facilities in El Salvador where clients are held

incommunicado. An inability to adequately communicate with one’s client—and

perhaps even being forced to defend them at trial in absentia—materially harms

these lawyers’ ability to carry out their constitutionally required role of providing

representation in criminal proceedings.




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      76.    At least one NACDL member has both current and former clients who

were rendered under the Agreement and who remain incommunicado in CECOT. For

example, the member began representing one person in state criminal proceedings in

January 2025.     That same month, the client was able to post bond and was

transferred into ICE custody. In March, the client was flown to CECOT as part of

the administration’s first wave of renditions. Although the NACDL member has no

way to communicate with their client in CECOT, and was only able to learn of his

whereabouts from press reporting and the client’s family members, they have

continued to represent him in his criminal proceedings, which remain ongoing. The

inability to access the client has materially interfered with the member’s ability to

carry out their work and has required the member to devote significant additional

time and resources to the matter, such as by conducting additional legal research and

engaging in motions practice that would not be required had the client remained

relatively more accessible in ICE detention.

      77.    NACDL members representing immigrants who are at risk of rendition

under the Agreement have also been forced to take, as required by their ethical

responsibilities to their clients, additional steps to prepare for that eventuality. This

practice, which is often non-compensable, deprives these members of the limited (and

often, too scarce) time they have to prepare their defense in the first place. Similarly,

members must advise clients who are not U.S. citizens about the potential

immigration consequences of their litigation strategy, even if those clients are not

presently in immigration proceedings. The Agreement has materially changed the




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stakes that may, for example, attach to a guilty plea (because, depending on the

circumstances, the collateral consequences could include rendition), requiring

NACDL members to spend valuable time recalibrating their advice. Because NACDL

members (especially public defenders) are often working under crushing caseloads,

the extra time required for each client can quickly multiply into a significant burden,

and even a few extra minutes required to properly advise a client can meaningfully

impinge on the lawyer’s ability to provide appropriate counsel. The Agreement,

however, can require that a lawyer spend far more than a few extra minutes to

provide competent counsel.

      78.    For example, one NACDL member represents multiple clients who are

at significant risk of rendition under the Agreement.         Concerns regarding the

possibility of rendition led the NACDL member to consult multiple different experts

and review human rights reports in order to advise their clients not only of the

strength of fear-based immigration claims, but also the actual risk to clients’ safety

and life should any decision point in their litigation lead to clients’ rendition. This

additional work has caused delay in the resolution of such cases. The member has

also expended resources securing independent immigration counsel for clients at risk

of rendition, requiring time-intensive coordination.

      79.    In addition to these individual representations, the NACDL member has

been forced to expend significant time creating materials to assist the rest of their

law office in identifying and advising clients at risk of rendition under the Agreement.

The member has created intake guidance for the other attorneys in their office to help




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them identify clients who are at greater risk of rendition and internal resources to

educate their fellow attorneys on the issue—who then refer to the member for

additional guidance and support. In the past two months, the member estimates that

they spent around 20% of their time on these additional demands as a result of the

Agreement. These additional pressures take away time and resources from other

clients, and hinder the member from providing the certainty of advice that the

member is used to.

             Immigrant Defenders Law Center

      80.    Plaintiff ImmDef’s mission is to ensure that no immigrant goes

unrepresented in immigration court. To accomplish that work, ImmDef provides full-

scale deportation defense, legal representation, legal education, and connections to

social services to thousands of detained and non-detained adults and children each

year. These projects include legal consultations and full-scope deportation defense

for unaccompanied children; representation of immigrants seeking post-conviction

relief from criminal convictions that are impacting their immigration status; serving

as court-appointed counsel for people unable to represent themselves in immigration

court because of serious mental disorders; providing training and resources to partner

organizations to increase capacity to represent clients; and providing non-legal

holistic support through a client wellness initiative that connects clients to mental

health services and other support while their cases are pending. The Agreement

materially harms ImmDef’s ability to carry out these critical projects.




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       81.    ImmDef represents eight clients that have been rendered from the

United States and are currently held in CECOT pursuant to the Agreement—

including one that ImmDef represented before his rendition. ImmDef has ongoing

responsibilities to these clients. But, like RFK Human Rights, ImmDef attorneys

have not been permitted to communicate directly with those clients since their

rendition—on information and belief, because the Agreement does not permit (or

require El Salvador to facilitate) such communication.

       82.    ImmDef’s representation of its clients now in CECOT (including

ImmDef’s ability to develop its clients’ legal claims for their immigration proceedings)

has been directly impeded by its inability to communicate with those held within the

facility and their clients’ lack of access to the legal process they are due more

generally. For example, one of ImmDef’s clients had a court date for his asylum

hearing in the United States on March 17, 2025—but was not brought to the hearing,

because he had been rendered to CECOT two days earlier.              Last month, the

immigration judge granted the government’s motion to dismiss that client’s case

based on his absence from the United States, over ImmDef’s objections in court and

in writing. ImmDef continues to represent this client and others held at CECOT,

including for purposes of determining whether to appeal and throughout the appeal,

if taken, but this representation is frustrated by ImmDef’s inability to communicate

with its clients.

       83.    ImmDef has been compelled to devote additional staff time to

representing their clients in CECOT as compared to what would have been required




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had those clients remained in the United States. Representing these clients now

requires several additional hours per week, for multiple attorneys across case teams,

compared to ImmDef’s typical practice. That change is directly traceable to the

Agreement and has necessarily reduced the number of clients ImmDef can help

overall, given that ImmDef has finite staff and resource capacity.

      84.    The unpredictability created by the Agreement has also materially

impeded ImmDef’s ability to represent and counsel its clients who are at risk of

rendition by making it more difficult for ImmDef to provide concrete advice. For

example, ImmDef attorneys are spending additional time advising them about the

range of potential outcomes in their situation, including being rendered to

El Salvador, and are screening for and documenting any tattoos.

      85.    Because, on information and belief, the Agreement purports to authorize

the rendition of children over the age of fourteen, this uncertainty—and the

additional resources it requires ImmDef to expend—apply likewise to ImmDef’s

clients who are children, particularly those from Venezuela who reasonably fear

rendition, and whose cases are often more complex and resource-intensive.

      86.    Moreover, ImmDef’s relationship with its clients—and the provision of

services to these clients—is not limited to legal representation, nor does it end simply

because the client is released from detention. ImmDef’s mission-critical work also

includes a client wellness initiative, through which ImmDef staff work with clients

to create individualized post-release plans, including referrals for medical care and

setting up travel arrangements for detained clients upon their release. This initiative




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is an integral part of ImmDef’s mission because in many cases it helps to ensure that

ImmDef’s clients are able to meet their obligations to prepare their cases with

ImmDef and attend their court hearings. ImmDef also stays in contact with some

clients who have been deported, for example, when there may be a basis to reopen

their case later or if they are removed pending appeal. Rendition to El Salvador

pursuant to the Agreement thwarts ImmDef’s ability to deliver these services.

          87.   ImmDef also provides technical assistance on removal defense to legal

service providers throughout California, including one-on-one meetings, office hours,

and quarterly meetings to help build capacity to provide representation in

furtherance of ImmDef’s mission to ensure universal representation for immigrants.

ImmDef also provides community education materials, which it has had to spend staff

hours to update to include both video and written information regarding the

heightened risk factors for being rendered to El Salvador. ImmDef is compelled to

continually use additional staff time to modify these materials to meet this ongoing

need for information and to maintain its reputation as a trusted source on these

topics.

                Immigration Equality

          88.   Plaintiff Immigration Equality is a national organization whose mission

is to promote equality and justice for LGBTQ and HIV-positive immigrants and

families through direct legal services, policy advocacy, and impact litigation. For 30

years, it has worked to secure safe haven, freedom, and equality for the LGBTQ and




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HIV-positive communities through direct legal services, policy advocacy, impact

litigation, and other programs.

      89.    In order to serve as many individuals as possible, Immigration Equality

has developed self-help materials and limited representation programming through

which it provides assistance to otherwise unrepresented applicants. For example,

Immigration Equality assists asylum applicants in filing asylum applications,

provides LGBTQ asylum seekers with general “Know Your Rights” materials, and

guides pro se asylum seekers on how to file certain documents, such as work

authorization applications. Immigration Equality works not only through its own

staff, but also through its pro bono program, a network of volunteer attorneys from

law firms across the country. Even where a pro bono volunteer is taking on this work,

Immigration Equality remains involved, providing training, resources, in-depth

mentorship, and review of the pro bono attorney’s work. Immigration Equality also

maintains a library of materials for pro bono attorneys on the state of the law and the

asylum process, which Immigration Equality updates to reflect significant changes

in policy or the law.

      90.    Pursuant to its mission, Immigration Equality runs a detention program

that provides legal representation, as well as other services to support and protect

LGBTQ and HIV-positive immigrants in detention facilities. Through this program,

Immigration Equality staff provide advice and materials to pro se asylum seekers;

prepare clients for and assist others with credible fear interviews; represent detained

individuals in parole applications, on bond motions, and in custody redetermination




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requests; and monitor and advocate for improvements to conditions of confinement,

such as by filing conditions complaints with the DHS Office for Civil Rights and Civil

Liberties and similar bodies and by publicly reporting on unlawful and dangerous

conditions.

      91.     Immigration Equality operates a toll-free hotline for exclusive use by

detained people.    Through the hotline, detained immigrants can speak with a

paralegal or attorney regarding their immigration case to determine whether they

qualify for representation by Immigration Equality and to receive other assistance,

such as self-help guides or referrals to other organizations or attorneys. Through the

detention hotline, its main phone line, and an online portal, Immigration Equality

answers thousands of phone calls and online inquiries annually regarding LGBTQ

and HIV-related immigration issues. Immigration Equality staff and volunteers

answer these inquiries.     To do so effectively they must receive training from

Immigration Equality on the law and asylum process, on commonly recurring issues

confronting the populations Immigration Equality serves, and on collecting relevant

information from potential clients.      In addition to conducting this training,

Immigration Equality has developed a library of template responses that provide

individuals with basic information on LGBTQ immigration and, in particular, on

asylum, withholding of removal, and Convention Against Torture claims.

      92.     In addition, Immigration Equality’s in-house legal team and its network

of pro bono attorneys assist and represent LGBTQ and HIV-positive immigrants with

matters before the U.S. Citizenship and Immigration Services, Executive Office for




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Immigration Review, U.S. Immigration and Customs Enforcement, the BIA, and

federal courts. Immigration Equality’s legal services focus primarily on asylum,

withholding of removal, and CAT claims, and related applications and benefits, such

as work authorization and adjustment of status. Immigration Equality has helped

thousands of asylum seekers win asylum, withholding of removal, relief under the

CAT, and other benefits and forms of relief.

      93.    The Agreement directly impairs Immigration Equality’s ability to

operate all of its core programs. Immigration Equality cannot continue to provide

legal and other direct services to LGBTQ and HIV-positive immigrants, and

otherwise work to improve their conditions of detention and for safe conditions, if

those individuals are disappeared to facilities in El Salvador where they cannot be

contacted and where conditions are notoriously brutal. Immigration Equality is not

able to serve people who have been rendered through its detention hotline, which it

uses to identify emerging threats to the populations it serves, uncover dangerous

conditions of confinement, or provide assistance and advice to LGBTQ and HIV-

positive individuals. And it cannot provide assistance to pro se individuals taken to

CECOT or other facilities in El Salvador.

      94.    The risk that individuals Immigration Equality serves will be rendered

under the Agreement is all too real. Immigration Equality provides services to

hundreds of people each year who are held in immigration detention across the

country.    It recently did an intake evaluation with an asylum seeker at the

Bluebonnet facility who had received paperwork accusing him of being part of Tren




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de Aragua. It also currently and regularly assists other Venezuelan asylum seekers

who could be identified for rendition to El Salvador.

      95.    The constant threat of rendition created by the Agreement itself

impedes Immigration Equality’s core work. LGBTQ and HIV-positive individuals can

face severe risk of persecution and harm in El Salvador, as the State Department

itself has recognized. See, e.g., Bureau of Democracy, Human Rights, and Labor, U.S.

Dep’t of State, El Salvador 2021 Human Rights Report 33 (“Police and gangs continue

to commit acts of violence against LGBTQI+ individuals. These actions were tolerated

by    the    government,     and     perpetrators       were   rarely   prosecuted.”),

https://perma.cc/D6KA-9RTQ.      If the Agreement remains in place, Immigration

Equality will have to expend resources it would otherwise put to other core parts of

its mission to updating and creating new guidance, trainings, and materials for

detained individuals, volunteers, and pro bono attorneys in order to advise on the

risks posed by this new threat to LGBTQ and HIV-positive individuals and avenues

for trying to avoid rendition under the Agreement. Immigration Equality is already

devoting staff time and resources to following the quickly changing developments on

this issue and beginning to research and prepare for the necessary changes to its

programs.

             California Collaborative for Immigrant Justice

      96.    Plaintiff CCIJ’s mission is to strengthen and guide grassroots efforts to

support detained and incarcerated immigrants and push for their liberation. CCIJ

furthers this mission through direct legal services, other legal support, advocacy




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initiatives, data collection and reporting, and public health advocacy for immigrants,

particularly those who are detained.

       97.     CCIJ   provides   legal   services    to   immigrants    through      direct

representation and through clinics supporting immigrants with their pro se claims.

CCIJ offers regular legal clinics at ICE detention centers in California. CCIJ also

provides legal consultations related to immigration matters to noncitizens

incarcerated in federal prisons around the country.           It is one of only a few

organizations that does so. As part of its clinic and consultation work, CCIJ staff

provide individual consultations and group “Know Your Rights” information,

distribute self-help materials, offer limited assistance with form-filling and other

preparation of court filings, screen for competency concerns and advocate for

appointed counsel in such cases, and provide direct representation in certain cases.

       98.     Many individuals in immigration detention and federal prisons

participate repeatedly in CCIJ’s clinics as they pursue their own pro se

representation. Via its regular clinics, CCIJ is able to provide ongoing support

through a pro se person’s immigration court case and appeals, and in collateral

matters like post-conviction relief or habeas petitions. CCIJ typically continues to

communicate with clients (and sometimes clinic participants) even after they are

released from detention or prison in the United States or deported to another country,

in order to provide ongoing legal services and/or support CCIJ’s public education

initiatives.




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      99.      When clients or clinic participants are transferred from the detention

facility or prison at which CCIJ has previously contacted them, and CCIJ is unable

to locate them or get in contact with them, CCIJ’s ability to continue providing legal

services and engaging in related advocacy initiatives is materially impaired. The

Agreement, by providing for the rendition of detained or incarcerated immigrants

beyond communication with CCIJ, impairs its ability to provide services. Rendition

not only prevents CCIJ from serving clients at its regular clinics (which are the most

efficient way to serve an overwhelming number of unrepresented people), but

prevents CCIJ from serving them at all. At least two people whom CCIJ has served

through its clinics have been relocated to Texas and, on information and belief, would

be rendered to El Salvador under the Agreement but for other court orders enjoining

that action.

      100.     As a result of the Agreement, CCIJ has had to implement new

procedures to identify clients and clinic participants who may face rendition under

the Agreement and to change how it provides advice and operates its clinics. To

begin, CCIJ must now screen every individual for risk factors for possible rendition

to El Salvador or other third countries. Where risk factors are identified, individuals

receive additional advice from a CCIJ attorney, beyond the self-help materials that

CCIJ typically offers.

      101.     CCIJ largely staffs its immigration detention clinics with rotating

volunteers from other organizations and law firms, and volunteers now must receive

additional training (from CCIJ staff) to screen for risk factors of rendition in order to




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flag such cases for a CCIJ attorney. At-risk individuals also receive specialized

material—which CCIJ and a partner organization developed in response to the

Agreement and translated into multiple languages—to advise individuals of their

rights and to enable access to counsel by requesting that CCIJ and the partner

organization be contacted before they are transferred for possible rendition. Because

of the Agreement, CCIJ staff now must devote additional time and resources to

providing these materials and advice to individuals at risk of rendition.

      102.   CCIJ also provides at-risk individuals with contact information and

instructions to call CCIJ if they believe they are being transferred for possible

rendition. CCIJ has received a number of communications from immigrants detained

at the Bluebonnet facility who reasonably fear rendition under the Agreement; these

communications have required CCIJ to devote additional staff time and resources to

creating records to track these people and monitor for possible attempts at rendition

so that CCIJ can take appropriate steps to intervene.

      103.   CCIJ also supports and engages in advocacy alongside former clients

and other individuals after they are released from ICE detention and federal prisons.

CCIJ has had to reach out to many such individuals—many of whom were previously

granted protection from removal under the Convention Against Torture or as

applicants for U-Visas—to advise on the new risk that they could be re-detained and

rendered to El Salvador or another third country, in order to protect these individuals

and ensure they can serve as partners in work that is central to CCIJ’s mission. For

the same reasons, CCIJ has also devoted time to arranging for attorney




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accompaniment for such individuals when attending check-ins with ICE, due to the

new risks and uncertainties caused by the Agreement.

      104.   Overall, the Agreement has required CCIJ to devote substantial time to

training volunteers, creating materials, providing more complex consultations, and

assisting formerly detained or incarcerated individuals. These additional demands

on staff capacity have caused an overall reduction in the quantity and quality of the

services CCIJ regularly provides to people in ICE detention and federal prisons.

Because clinic consultations now take longer than they previously did in order to

ensure that volunteers and CCIJ attorneys are screening for and advising on risks

created by the Agreement, CCIJ is not able to serve as many people in those clinic

sessions.

      105.   CCIJ also advocates for the health and safety of the people who are being

held inside ICE detention facilities. For example, CCIJ conducts outreach with local

agencies and public health departments to encourage and facilitate inspections and

ensure appropriate oversight of conditions, and files complaints with the Department

of Homeland Security on behalf of detained immigrants regarding their health and

safety while in detention. CCIJ has also served as class counsel in litigation on behalf

of hundreds of people incarcerated in federal prisons, securing a consent decree

requiring the provision of medical care, limitations on the use of solitary confinement,

appropriate housing designations, and ongoing confidential communication between

CCIJ and incarcerated class members. See California Coalition for Women Prisoners

v. Federal Bureau of Prisons, No. 23-cv-4155, Dkt. 473-1 (N.D. Cal. Feb. 27, 2025).




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This work, central to CCIJ’s mission, depends on CCIJ’s ability to know, in real time,

what is happening to people who are detained and incarcerated, and whether their

medical and other needs are being met—an impossible task were those individuals to

be disappeared into facilities in El Salvador.

      106.   To further its mission, CCIJ collects and analyzes data relating to both

immigration enforcement and detention center conditions. This data helps CCIJ

inform the public and government officials of what is actually happening to those

taken into immigration detention. For example, in recent years, CCIJ commissioned

and contributed to a report exposing the inhumane labor conditions that had

previously led detained workers to initiate a labor strike. It also published a report

about the denial of proper nutrition in immigration detention. Reports of this sort

rely on access to accurate information collected over time.

                              LEGAL BACKGROUND

      The APA Sets Minimum Standards for Final Agency Action

      107.   The Administrative Procedure Act authorizes judicial review of final

agency action. 5 U.S.C. § 704.

      108.   Under the APA, federal agencies such as the State Department cannot

take final actions that are contrary to law or constitutional right, arbitrary and

capricious, or in excess of statutory authority. See id. § 706(2)(A)–(C).

      The Agreement Is Final Agency Action

      109.   Final agency actions are those (1) that “mark the consummation of the

agency’s decisionmaking process” and (2) “by which rights or obligations have been




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determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S.

154, 178 (1997) (quotation marks omitted).

      110.   The Agreement is final agency action subject to the Court’s review.

      111.   The Agreement marks the consummation of the State Department’s

decisionmaking process because it has been completed with El Salvador as a

counterparty. Secretary Rubio has confirmed that he and President Bukele had

“finalize[d]” the “verbal agreement [they] had reached” in February. Marco Rubio,

Secretary of State Marco Rubio Remarks to the Press, U.S. Dep’t of State (Mar. 28,

2025), https://perma.cc/BU2X-JFJH.

      112.   The Agreement is also an action by which rights or obligations have been

determined or from which legal consequences will flow because the Agreement

provides the terms for and facilitates the disappearance of individuals in the United

States to El Salvador.

      The Court May Enjoin Defendants’ Ultra Vires Actions

      113.   “[T]he case law in this circuit is clear that judicial review is available

when an agency acts ultra vires.” Aid Ass’n for Lutherans v. U.S. Postal Serv., 321

F.3d 1166, 1173 (D.C. Cir. 2003). “[C]ourts will ‘ordinarily presume that Congress

intends the executive to obey its statutory commands and, accordingly, that it expects

the courts to grant relief when an executive agency violates such a command.’”

Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1328 (D.C. Cir. 1996) (quoting

Bowen v. Michigan Academy of Family Physicians, 476 U.S. 667, 681 (1986)).




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                               CLAIMS FOR RELIEF

                                  Count One
                  Administrative Procedure Act–706(2)(A), (B)
                   Contrary to Law and Constitutional Right
                           (Against All Defendants)

      114.   Plaintiffs reallege all paragraphs above as if fully set forth here.

      115.   Under the APA, a court shall “hold unlawful and set aside agency action

. . . found to be . . . not in accordance with law” or “contrary to constitutional right,

power, privilege, or immunity.” 5 U.S.C. § 706(2)(A), (B).

      116.   The APA’s reference to “law” in the phrase “not in accordance with law,”

“means, of course, any law, and not merely those laws that the agency itself is charged

with administering.” FCC v. NextWave Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003)

(emphasis in original).

      117.   Article I, Section 9, Clause 2 of the U.S. Constitution (the Suspension

Clause) provides that the writ of habeas corpus shall not be suspended, unless when

in cases of rebellion or invasion the public safety may require it. The Agreement is

contrary to the Suspension Clause because, although habeas has not been—and

cannot legally be—suspended under the present circumstances, the Agreement

attempts to render the people subject to it beyond the jurisdiction of U.S. courts and

thus effectively to deprive them of access to habeas relief.

      118.   Article I, Section 9, Clause 7 of the U.S. Constitution (the

Appropriations Clause) provides that “[n]o Money shall be drawn from the Treasury,

but in Consequence of Appropriations made by Law.” The Agreement is contrary to

the Appropriations Clause because it provides for payment to El Salvador of money


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from the Treasury in order to finance the rendition of people from the United States

without an appropriation for that purpose made by law.

      119.   The First Amendment of the U.S. Constitution and the Religious

Freedom Restoration Act, 42 U.S.C. §§ 2000bb et seq., protect the free exercise of

religion. RFRA provides that the government “may substantially burden a person’s

exercise of religion only if it demonstrates that application of the burden to the person

is in furtherance of a compelling governmental interest; and is the least restrictive

means of furthering that compelling governmental interest.” Id. § 2000bb–1(b). The

Agreement is contrary to the Free Exercise Clause of the First Amendment and to

RFRA, including because it provides for the rendition of individuals in the United

States into conditions of potentially indefinite detention in which they lack access to

clergy and other necessary components of their free exercise of religion.

      120.   The Fifth Amendment of the U.S. Constitution provides that “[n]o

person shall be . . . deprived of life, liberty, or property, without due process of law.”

The Agreement is contrary to the Fifth Amendment because it provides for the

rendition of individuals in the United States into conditions of potentially indefinite

detention without due process of law.

      121.   The Sixth Amendment of the U.S. Constitution provides for the rights

to a speedy and public trial, by an impartial jury in the district where the crime was

allegedly committed, to be informed of the nature and cause of the accusation, to be

confronted by witnesses, to be able to obtain witnesses in one’s favor, and to have the

assistance of counsel. The Agreement is contrary to the Sixth Amendment because




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it provides for the rendition of individuals in the United States into conditions of

potentially indefinite detention without constitutionally required process and

without access to counsel.

      122.   The Eighth Amendment of the U.S. Constitution prohibits the infliction

of cruel and unusual punishment.         The Agreement is contrary to the Eighth

Amendment, including because it provides for the rendition and potentially indefinite

incarceration of individuals in the United States in conditions known for human

rights abuses, torture, and death; and it provides for lengthy and potentially

indefinite incarceration, untethered to any particular crime, or even any civil

violation.

      123.   The Convention Against Torture, to which the United States is a party,

provides that no party “shall expel, return (‘refouler’) or extradite a person to another

State where there are substantial grounds for believing that he would be in danger

of being subjected to torture.”     Convention Against Torture and Other Cruel,

Inhuman or Degrading Treatment or Punishment art. 3.1, Dec. 10, 1984, 1465

U.N.T.S. 85. Congress implemented the CAT via the Foreign Affairs Reform and

Restructuring Act of 1998 (FARRA), which announced “the policy of the United States

not to expel, extradite, or otherwise effect the involuntary return of any person to a

country in which there are substantial grounds for believing the person would be in

danger of being subjected to torture.” 8 U.S.C. § 1231 note. The FARRA further

directed agencies to issue implementing regulations. See, e.g., 8 C.F.R. §§ 208.16–

208.18. The Agreement is contrary to the United States’s obligations under the CAT




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and to the FARRA and its implementing regulations, including because it provides

for the rendition and potential indefinite incarceration of individuals in the United

States in conditions known to include torture.

      124.   The Case-Zablocki Act, 1 U.S.C. § 112b, requires that the State

Department report to the House Foreign Affairs Committee and Senate Foreign

Relations Committee on all international agreements that were “signed, concluded,

or otherwise finalized the prior month” and those that “entered into force” or “became

operative” during the prior month. The Agreement is contrary to the Case-Zablocki

Act because the State Department has not submitted any required report about the

Agreement to the relevant committees. See Letter from Gregory Meeks, Ranking

Member, House Foreign Affairs Committee, and Joaquin Castro, Ranking Member,

Subcommittee on Western Hemisphere, to Marco Rubio, Secretary of State (Apr. 17,

2025), https://perma.cc/6MGE-JEKZ. The Case-Zablocki Act further requires that

the Secretary of State make publicly available the text of international agreements

on the State Department website. 1 U.S.C. § 112b(b). Secretary Rubio has yet not

made the full text of the Agreement so available or otherwise released it to the public.

See U.S. Dep’t of State, 2025 Treaties and Agreements, https://perma.cc/GAQ8-EJ23

(last visited June 4, 2025). To the same extent that the Agreement is contrary to the

Case-Zablocki Act, it is likewise contrary to the State Department’s regulations

implementing the Act. See 22 C.F.R. pt. 181.

      125.   The Immigration and Nationality Act, 8 U.S.C. chpt. 12, provides a

comprehensive framework for the removal of non-citizens from the U.S., including




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dictating the procedures that must be followed in effectuating a removal, e.g., id.

§§ 1229a, 1228, and the countries to which a non-citizen can be removed, id. § 1231(b).

The Agreement is contrary to the INA, including because it provides for the rendition

of non-citizens out of the country without observance of required procedures and to a

destination country not authorized by the INA.

      126.   The Americans with Disabilities Act, 42 U.S.C. § 12132, provides that

“no qualified individual with a disability shall, by reason of such disability, . . . be

subjected to discrimination by” “a public entity.” The Rehabilitation Act, 29 U.S.C.

§ 794(a), provides that “[n]o otherwise qualified individual with a disability in the

United States . . . shall, solely by reason of her or his disability, . . . be subjected to

discrimination . . . under any program or activity conducted by any Executive agency.”

The Agreement is contrary to the ADA and Rehabilitation Act because it provides for

the rendition of individuals in the United States into facilities that do not comply

with the requirements of these statutes.

      127.   The Non-Detention Act provides that “[n]o citizen shall be imprisoned

or otherwise detained by the United States except pursuant to an Act of Congress.”

18 U.S.C. § 4001(a). The Agreement is contrary to the Non-Detention Act because it

fails to include sufficient safeguards against the rendition and indefinite detention of

U.S. citizens without authorization by any act of Congress.

      128.   The Detainee Treatment Act provides that “[n]o individual in the

custody or under the physical control of the United States Government, regardless of

nationality or physical location, shall be subject to cruel, inhuman, or degrading




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treatment or punishment.” 42 U.S.C. §§ 2000dd(a), 2000dd-0(1). The Agreement is

contrary to the Detainee Treatment Act because it provides for the rendition of

individuals in the custody or under the physical control of the U.S. government to

facilities in which they will be subject to cruel, inhuman, or degrading treatment or

punishment.

      129.    The First Step Act requires that the Bureau of Prisons “place [a]

prisoner in a facility as close as possible to the prisoner’s primary residence, and to

the extent practicable, in a facility within 500 driving miles of that residence.” 18

U.S.C. § 3621(b). To the extent the Agreement outsources the detention of people

who have been convicted and committed to the custody of the Bureau of Prisons, the

Agreement is contrary to the First Step Act because it necessarily requires that

people rendered pursuant to the Agreement be placed in a location wholly

inaccessible from the person’s primary residence.

      130.    The Bureau of Prisons has promulgated regulations governing the

housing of prisoners and those awaiting trial. These regulations provide, among

other things, that “pretrial inmates will be separated, to the extent practicable, from

convicted inmates,” 28 C.F.R. § 551.100, that both prisoners and those awaiting trial

shall “have access to . . . religious programs,” id. § 551.110; see also id. § 548.10, and

that both shall also have “access to legal materials” and “to telephone the inmate’s

attorney as often as resources of the institution allow,” id. § 551.117; see also id.

§ 543.13. To the extent the Agreement outsources the detention of people detained

pre-trial or post-conviction in the United States, the Agreement is contrary to these




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and other provisions of the Bureau of Prisons’s regulations because it provides for the

rendition of individuals in the United States into facilities that do not comply with

the requirements of these provisions.

      131.   The Department of Homeland Security has promulgated regulations

governing the prevention of sexual abuse and assault in immigration detention.

6 C.F.R. subpts. A, B.      These regulations require, among other things, that

immigration detention and DHS holding facilities “shall hold juveniles apart from

adult detainees,” id. §§ 115.14, 115.114, shall provide specific avenues for detained

people to report sexual abuse, id. §§ § 115.52, 115.151, and provide training to

employees about identifying and addressing sexual assault, id. §§ § 115.31, 115.131.

They also require the government, “[w]hen contracting for the confinement of

detainees in immigration detention facilities operated by non-DHS private or public

agencies or other entities, including other government agencies,” to include in such

contracts “the entity’s obligation to adopt and comply with these standards.” Id.

§§ 115.12, 115.112. To the extent the Agreement outsources immigration detention,

the Agreement is contrary to these and other provisions of DHS’s regulations because

it provides for the rendition of individuals in the United States into facilities that do

not comply with the requirements of these provisions.

      132.   The Federal Acquisition Regulation (FAR), 48 C.F.R. chpt. 1, sets out

uniform policies and procedures by which executive agencies contract for goods and

services. The State Department has, by regulation, adopted the FAR with respect “to

all DOS acquisitions of personal property and services . . . both within and outside




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the United States,” subject to limited exceptions. Id. § 601.302. The FAR requires,

among other things, the public disclosure of information concerning certain contract

actions. See, e.g., 48 C.F.R. § 5.406. The Agreement is contrary to the FAR and the

State Department’s regulations concerning acquisitions because it contracts for

services without complying with the policies and procedures set out in those rules.

      133.   The Agreement is not in accordance with law because it is contrary to

these myriad provisions.

                                 Count Two
          Violation of the Administrative Procedure Act—706(2)(A)
                          Arbitrary and Capricious
                           (Against All Defendants)

      134.   Plaintiffs reallege all paragraphs above as if fully set forth here.

      135.   Under the APA, a court shall “hold unlawful and set aside agency action

. . . found to be arbitrary [or] capricious.” 5 U.S.C. § 706(2)(A).

      136.   The Agreement is arbitrary and capricious in multiple respects. Several

examples follow.

      137.   First, the Agreement’s many conflicts with the laws addressed above

renders it arbitrary and capricious.

      138.   Second, the State Department has failed to proffer a reasonable

explanation for the Agreement, including addressing the conflicts with numerous

laws addressed above.

      139.   Third, the Agreement fails to adequately address, and is irreconcilably

at odds with, the State Department’s own findings that CECOT and other prison

facilities in El Salvador are replete with human rights abuses.


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      140.   Fourth, the government’s position is that the Agreement does not

include a provision ensuring the United States’ ability to recall individuals who are

rendered to the United States, including in situations where the individual was

rendered arbitrarily, without basis, or by mistake, or where a court has ordered the

United States to facilitate their return—an unexplained and irrational omission.

      141.   Fifth, on information and belief, the Agreement does not include

provisions guaranteeing an appropriate standard of care for those rendered to

CECOT or elsewhere in El Salvador.

      142.   Sixth, the Agreement reflects no consideration of reasonable alternative

approaches. The government has not explained—nor could it—why it could not have

simply followed the law regarding detention, incarceration, and removal within the

United States.

      143.   Seventh, the State Department failed to account for the substantial

reliance interests of Plaintiffs and those like them in being able to communicate with

people who are detained or incarcerated under U.S. authority, much less the interests

of the individuals who have themselves been disappeared and their loved ones,

employers, and communities.

      144.   For these and other failings, the Agreement is arbitrary and capricious.

                                 Count Three
                    Administrative Procedure Act–706(2)(C)
                       In Excess of Statutory Authority
                           (Against All Defendants)

      145.   Plaintiffs reallege all paragraphs above as if fully set forth here.




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      146.   Under the APA, a court shall “hold unlawful and set aside agency action

. . . found to be . . . in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right.” 5 U.S.C. § 706(2)(C).

      147.   “An agency . . . literally has no power to act—including under its

regulations—unless and until Congress authorizes it to do so by statute.” FEC v.

Cruz, 596 U.S. 289, 301 (2022) (internal quotation marks and citation omitted).

      148.   No statutory provision authorizes the State Department to enter into an

agreement to outsource the detention of individuals in the United States by rendering

them into a foreign black site, potentially indefinitely.

      149.   The Agreement therefore is in excess of statutory jurisdiction, authority,

or limitations, or short of statutory right.

                                    Count Four
                                 Ultra Vires Action
                              (Against All Defendants)

      150.    Plaintiffs reallege all paragraphs above as if fully set forth here.

      151.   There is no statute, constitutional provision, or other source of law that

authorizes Defendants’ actions to enter into the Agreement. And the Agreement is

contrary to law and constitutional right, as set forth above.

      152.   Plaintiffs have a non-statutory right of action to declare unlawful, set

aside, and enjoin Defendants’ ultra vires actions.

                               PRAYER FOR RELIEF

Plaintiffs request that the Court enter the following relief:




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  a.      Declare unlawful and set aside the Agreement as not in accordance with

          law and contrary to constitutional right under 5 U.S.C. § 706(2)(A), (B),

          arbitrary, capricious, or an abuse of discretion under 5 U.S.C. § 706(2)(A),

          in excess of statutory jurisdiction, authority, or limitations, or short of

          statutory right under 5 U.S.C. § 706(2)(C), and ultra vires;

  b.      Enjoin Defendants, their officers, employees, and agents from taking any

          further action pursuant to the Agreement, including but not limited to

          rendering any person to El Salvador for detention, and/or taking any steps

          to implement, give effect to, or reinstate the Agreement under a different

          name;

  c.      Award Plaintiffs their costs, reasonable attorney’s fees, and other

          disbursements as appropriate;

  d.      Grant such other relief as the Court deems necessary, just, and proper.


Dated: June 5, 2025                    Respectfully submitted,

                                       /s/ Jessica Anne Morton

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